Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 1 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 2 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 3 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 4 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 5 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 6 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 7 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 8 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 9 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 10 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 11 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 12 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 13 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 14 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 15 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 16 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 17 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 18 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 19 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 20 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 21 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 22 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 23 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 24 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 25 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 26 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 27 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 28 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 29 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 30 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 31 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 32 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 33 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 34 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 35 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 36 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 37 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 38 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 39 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 40 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 41 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 42 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 43 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 44 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 45 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 46 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 47 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 48 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 49 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 50 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 51 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 52 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 53 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 54 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 55 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 56 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 57 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 58 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 59 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 60 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 61 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 62 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 63 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 64 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 65 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 66 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 67 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 68 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 69 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 70 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 71 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 72 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 73 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 74 of 75
Case 1:23-cv-10511-WGY Document 419 Filed 12/08/23 Page 75 of 75
